                Case 2:15-cr-00176-TLN Document 96 Filed 09/26/16 Page 1 of 4


1    JOHN R. MANNING (SBN 220874)
     ATTORNEY AT LAW
2    1111 H Street, #204
     Sacramento, CA 95814
3    (916)444-3994
     jmanninglaw@yahoo.com
4
     Attorney for Defendant
5    THONGCHONE VONGDENG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:15-CR-176-TLN
10                                           )
                         Plaintiff,          )   STIPULATION REGARDING EXCLUDABLE TIME
11                                           )   PERIODS UNDER SPEEDY TRIAL ACT;
     vs.                                     )   FINDINGS AND ORDER
12                                           )
     KHOONSRIVONG et al.,                    )   Date: November 10, 2016
13                                           )   Time: 9:30 a.m.
                         Defendants.         )   Judge: Honorable Troy L. Nunley
14                                           )

15

16         The United States of America through its undersigned counsel, André M.

17   Espinosa, Assistant United States Attorney, together with counsel for

18   defendant Boone B. Khoonsrivong, Matthew C. Bockmon, Esq., counsel for

19   defendant Thongchone Vongdeng, John R. Manning, Esq., counsel for defendant

20   Amber Collins, Erin J. Radekin, Esq., counsel for defendant Somaly Siv,

21   Michael L. Chastaine, Esq., counsel for defendant Meghan Paradis, Michael B.

22   Bigelow, Esq., counsel for defendant Sequoia Valverde, Olaf W. Hedberg, Esq.,

23   and counsel for defendant Jaffrey Brown, Todd D. Leras, Esq., hereby

24   stipulate the following:

25         1.    By previous order, this matter was set for status conference on

26   September 29, 2016.

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                Case 2:15-cr-00176-TLN Document 96 Filed 09/26/16 Page 2 of 4


1          2.    By this stipulation, all defendants except Vuthiya Tim, now move to

2    continue the status conference until November 10, 2016 at 9:30 a.m., and to

3    exclude time between September 29, 2016 and November 10, 2016 under the Local

4    Code T-4 (to allow defense counsel further time to prepare).     Defendant

5    Vuthiya Tim wishes to remain on the calendar for a Change of Plea.

6          3.    The parties agree and stipulate, and request the Court find the

7    following:

8          a. On October 22, 2015, (and on subsequent dates for defendants who

9               were arrested and arraigned afterward), the government produced

10              approximately 47,000 pages of discovery, a disc containing audio

11              files, and a disc containing video files.   The government also made

12              other discovery available for review at its office.   On April 5,

13              2016, the government produced 388 pages of additional discovery.

14         b. Counsel for the defendants need additional time to review the

15              voluminous discovery, conduct more investigation, and interview

16              potential witnesses.

17         c. Counsel for the defendants believe the failure to grant a

18              continuance in this case would deny defense counsel reasonable time

19              necessary for effective preparation, taking into account the

20              exercise of due diligence.

21         d. The government does not object to the continuance.

22         e. Based on the above-stated findings, the ends of justice served by

23              granting the requested continuance outweigh the best interests of

24              the public and the defendants in a speedy trial within the original

25              date prescribed by the Speedy Trial Act.

26         f. For the purpose of computing time under the Speedy Trial Act, 18

27              United States Code Section 3161(h)(7)(A) within which trial must

28              commence, the time period of September 29, 2016, to November 10,
                Case 2:15-cr-00176-TLN Document 96 Filed 09/26/16 Page 3 of 4


1               2016, inclusive, is deemed excludable pursuant to 18 United States

2               Code Section 3161(h)(7)(A) and (B)(iv), corresponding to Local Code

3               T-4 because it results from a continuance granted by the Court at

4               the defendants' request on the basis of the Court’s finding that the

5               ends of justice served by taking such action outweigh the best

6               interest of the public and the defendants in a speedy trial.

7          4.    Nothing in this stipulation and order shall preclude a finding that

8    provision of the Speedy Trial Act dictate that additional time periods are

9    excludable from the period within which a trial must commence.

10

11   IT IS SO STIPULATED.

12

13   Dated:   September 22, 2016                  /s/ Matthew C. Bockmon
                                                 MATTHEW C. BOCKMON
14                                               Attorney for Defendant
                                                 Boone B. Khoonsrivong
15

16   Dated:   September 22, 2016                 /s/ John R. Manning
                                                 JOHN R. MANNING
17                                               Attorney for Defendant
                                                 Thongchone Vongdeng
18

19   Dated:   September 22, 2016                 /s/ Erin J. Radekin
                                                 ERIN J. RADEKIN
20                                               Attorney for Defendant
                                                 Amber Collins
21

22   Dated:   September 22, 2016                 /s/ Michael L. Chastaine
                                                 MICHAEL L. CHASTAINE
23                                               Attorney for Defendant
                                                 Somaly Siv
24

25   Dated:   September 23, 2016                 /s/ Todd D. Leras
                                                 TODD D. LERAS
26                                               Attorney for Defendant
                                                 Jaffrey Brown
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              Case 2:15-cr-00176-TLN Document 96 Filed 09/26/16 Page 4 of 4


1    Dated:   September 22, 2016                  /s/ Michael B. Bigelow
                                                  MICHAEL B. BIGELOW
2                                                 Attorney for Defendant
                                                  Meghan Paradis
3

4    Dated:   September 22, 2016                  /s/ Olaf W. Hedberg
                                                  OLAF W. HEDBERG
5                                                 Attorney for Defendant
                                                  Sequoia Valverde
6

7    Dated:   September 22, 2016                  Phillip A. Talbert
                                                  Acting United States Attorney
8
                                                  by: André M. Espinosa
9                                                 ANDRÉ M. ESPINOSA
                                                  Assistant United States Attorney
10

11

12                                        ORDER

13   IT IS SO FOUND AND ORDERED this 26th day of September, 2016.

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17   ///                                           Troy L. Nunley
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                                                   United States District Judge

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